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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                       Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                       Civil Action No. 25-cv-402 (AHA)
            v.

  DONALD J. TRUMP, et al.,

                   Defendants.


 DEFENDANTS’ STATUS REPORT UNDER MINUTE ORDER OF MARCH 24, 2025

       1.        Defendants hereby respond to the inquiries in the Court’s Minute Order of March

17, 2025, as made applicable through subsequent Minute Orders.

       2.        As to processing of payments to foreign assistance funding recipients for work

completed prior to February 13, 2025: As of yesterday, the total number of such payments by

Defendants to Plaintiffs processed since June 11, 2025 was 15, and the total number of such

payments by Defendants to non-Plaintiffs processed since June 11, 2025 was 1,559. In sum,

Defendants have therefore processed 1574 payments during the five business days through and

including June 19, 2025.


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       3.     The total number of such payments which remain to be processed for Plaintiffs is

66, and the total number of such payments which remain to be processed for non-Plaintiffs is

2,223. There are therefore approximately 2,289 payments remaining to be processed.

       4.     Although USAID has continued to process certain payments made through the

payment management system operated by the Department of Health & Human Services (HHS),

USAID has not been able to disaggregate HHS-operated payments for work completed prior to

February 13, 2025 from HHS-operated payments for work completed later. Hence, USAID has

not reported HHS-operated payments in its count above.

       5.     Additionally, after reviewing its records to confirm receipt of GHC Plaintiffs’

resubmitted invoices and requests, USAID has provided alternative contact information to assist

Plaintiffs in resubmitting a small number of invoices and requests that the agency’s personnel,

including those at overseas posts, have not been able to locate.

       6.     As Defendants have previously explained, they continue to receive or identify

additional requests for payment for work completed prior to February 13, 2025.

       7.     As to the provisions in this Court’s Order of March 10, 2025 concerning “funds

that Congress appropriated for foreign assistance programs in the Further Consolidated

Appropriations Act of 2024”: In consultation with the Office of Management and Budget, and in

light of the results of the programmatic review and the planned reorganization outlined in the

notification to Congress, USAID and State continue to evaluate the appropriate next steps to

address the provision in this Court’s March 10, 2025, order regarding obligation of funds.

       8.     Additionally, Defendants note that the President on June 3, 2025 transmitted to




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Congress a special message under 2 U.S.C. § 683(a) 1 attaching rescission proposals. On June 12,

2025, the House of Representatives passed the rescission package. The special message was made

available at https://www.whitehouse.gov/wp-content/uploads/2025/03/Proposed-Rescissions-of-

Budgetary-Resources.pdf.




1 The Impoundment Control Act of 1974, Pub. L. No. 93-344, tit. X, 88 Stat. 297, 332 (ICA). The
statute provides that the President is required to “transmit to both Houses of Congress a special
message” whenever he “determines that all or part of any budget authority will not be required to
carry out the full objectives or scope of programs for which it is provided or that such budget
authority should be rescinded for fiscal policy or other reasons” or “whenever all or part of budget
authority provided for only one fiscal year is to be reserved from obligation for such fiscal year.”
2 U.S.C. § 683(a). That special message is required to contain various information about the
proposed rescission, such as “the amount of budget authority” involved and “the reasons why the
budget authority should be rescinded.” Id.

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Dated: June 20, 2025                   Respectfully submitted,
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